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                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION


IN RE: NATIONAL PRESCRIPTION                  )      CASE NO. 1:17-MD-2804
OPIATE LITIGATION                             )
                                              )      SPECIAL MASTER COHEN
THIS DOCUMENT RELATES TO:                     )
“Track One Cases”                             )
                                              )
                                              )      TRACK ONE DISCOVERY ORDER
                                              )      REGARDING HEALTH-RELATED
                                              )      INFORMATION

       The undersigned has received numerous emails and letters from the parties regarding Track

One Plaintiffs’ responses to Defendants’ requests for production of databases and documents

containing confidential health-related information. These requests include: (1) reports reflecting

analysis or investigations conducted by a Public Health Department, Coroner, or Medical

Examiner’s Office; (2) documents relied upon by the Plaintiffs’ Public Health Department, Coroner,

or Medical Examiner in connection with those reports; and (3) databases reflecting individual opioid

prescriptions that were reimbursed, or denied payment for, on behalf of Plaintiffs, including their

employees, incarcerated persons, retirees, and pension fund beneficiaries. At least some of this

discovery requested by Defendants includes information protected by HIPAA and possibly other

privacy laws.

       The Court has already entered an order addressing discovery of “HIPAA-Protected

Information,” see CMO-2 at 32-34 (docket no. 441), and the parties state they intend to abide by

those provisions. There remain two issues, however: (1) it will take substantial time for Plaintiffs

to redact the requested discovery, and Defendants need the information as soon as possible; and (2)
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the parties disagree over the extent to which redaction is necessary. Accordingly, the Special Master

now ORDERS as follows:

•      Plaintiffs in the Track One cases shall make available for inspection by Defendants, in the

       form that they are currently maintained, records in the custody and control of the Medical

       Examiner’s office, while Plaintiffs process and produce the documents in a more formal

       manner.

•      Unless Plaintiffs in Track One cases can immediately produce the requested data with a

       unique identifier that does not include patient-identifying information, Plaintiffs in the Track

       One cases shall make available for inspection by Defendants, in the form that they are

       currently maintained, claims information for any patient who received an opioid prescription,

       including records of medical treatment for that patient where no opioid prescription was

       provided, while Plaintiffs process and produce the information in a more formal manner (if

       necessary). However, Plaintiffs may produce in de-identified format any claims records

       concerning the treatment of substance abuse that are within the scope of Title 42, Part 2 of

       the Code of Federal Regulations; and Plaintiffs shall produce these records as soon as

       possible.1

•      All material produced pursuant to this Order shall be designated “Highly Confidential –

       Attorneys’ Eyes Only,” pursuant to CMO-2. See also CMO-3 ¶6(h,i) (docket no. 443)



       1
          The regulation applies only to records maintained by a “federally-assisted drug abuse
program.” 42 C.F.R. §2.12(a). Thus, the regulation appears not to extend to records maintained by
a Coroner or Medical Examiner – neither of which “hold[] itself out as providing . . . substance
abuse disorder diagnosis, treatment, or referral for treatment,” 42 C.F.R. §2.11.6 – unless those
records originated with a federally-assisted drug abuse program and were transferred to the Coroner
or Medical Examiner.

                                                  2
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       (setting out provisions regarding production of hard-paper documents containing

       confidential information).

•      The parties shall meet and confer and, if necessary, submit a proposed order further

       addressing any procedures that are required to protect the confidentiality of the materials

       addressed above, or change their privacy designation, or relate to additional redaction or

       unredaction. Absent agreement or further Order, all such information shall remain “Highly

       Confidential – Attorneys’ Eyes Only.”

•      Absent agreement or further Order, Defendants shall not use any material produced pursuant

       to this Order in connection with any formal or informal third-party discovery of individuals

       or entities, including but not limited to: (i) requests to or about individual patients whose

       records are produced in the medical insurance claims data; and (ii) requests to health care

       providers concerning the treatment of patients described in the medical insurance claims

       data.

               RESPECTFULLY SUBMITTED,

                                                     /s/ David R. Cohen
                                                     David R. Cohen
                                                     Special Master

Dated: July 3, 2018




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